
Kirkpatrick, Ch. J.
— This record is defective in almost everything. But I shall consider it only upon the second reason assigned for reversal, viz.: that the judgment is entered in figures, and not in words written at length.
By the seventeenth section of the act respecting amendments and jeofails, it is expressly enacted, “that all proceedings whatsoever, in any court of law and ecpiity in this State, shall be written in words at length, and not abbreviated, except such abbreviations as are commonly used in the English language. Provided, nevertheless, that it shall be lawful to express numbers by figures in like manner as hath heretofore, or is now, commonly Tised, in said courts respectively, «feo." After the passing of this act, the courts for the trial of small causes were constituted, and declared to be courts of record, and to be vested, for the purposes therein expressed, with all such power as is usual in courts of this State. It is manifest, therefore, that these courts for the trial of small causes, can set up no common usage as to this matter; for at the time of passing the act, they did not exist. Unless, therefore, there can be something found in the act constituting them, to authorize [44] this manner of entry, and to exempt them from the general rule, they must be governed by the same law, with all other courts of record. But no such thing can be found. So far, indeed, as their proceedings are specially directed by the act which gives them existence, they must pursue those directions. When they are not so directed, they must be governed by general principles.
Kow it is certain that in courts of record we do not enter judgments in figures. Ko such custom has ever [†] obtained; *58from the earliest times to the present it would have been error. And indeed, as the sum for which the judgment is entered, is the very essence of the whole, it would seem to be absurd that all the rest of the proceedings should of necessity, be entered in words written at length, and that this only should be entered in figures; so easily obliterated or altered, and so frequently made the subject of fraud and deceit.
Be the reason of the thing, however, as it may, it appears to me, that the act is positive, that these courts are bound by it, and that the proviso, even supposing it applicable to sums, as well as to numbers, (which is not the case,) does not apply to them.
Therefore, in my opinion, the judgment must be reversed.
Rossell, J. — Concurred.
Pennington, J.
— The principal error, complained of in this case, is, that the judgment is entered in figures. This is apparent on the record of the justice. By a long course of adjudications, as well anterior to my coming on to this bench, as since, this court have uniformly reversed the judgments of the justices, for this cause. I confess, that I at first considered it a strictness of proceeding not required by any positive law, nor called for from the circumstances of the case. If it was a new .question, and never had been adjudged before, I should still think so.
But the inconvenience resulting from this course of adjudication is nearly at an end, it being pretty generally understood, that this court will reverse for this cause; and we are now deriving advantages from it, by having the records of justices’ courts, less exposed to frauds and deceits. I therefore feel an unwillingness to go back and lose the ground we have gained. The dockets of justices are infinitely more exposed than the records of a stationary court; and in the same proportion as figures are the more easily altered than words written at length, in the same proportion are justices’ dockets [*] and the records contained therein, exposed to *59fraud and abuse. Tlie alteration of a single [45] figure, may cause much litigation, vexation, and even injustice.
I do not, however, consider the 17th section of the act respecting amendments and jeofails, as having an imperative control over this question. I view that section as nothing more than a concise re-enacting the statute of 4th George II. chap. 26, compelling proceedings in courts of law, to be in the English language; abolishing the old court hand, and prohibiting abbreviations in law proceedings, which had become very common; to do which, it became necessary to declare, that words should be written at length. But there is an exception in favor of the accustomed figures, and a provision in the next section, for a liberal interpretation, so as to promote the ease and benefit of the parties and to prevent frivolous delays. I consider, therefore, this section as not touching the question. But from the danger of fraud which the justice’s dockets are daily exposed to, the importance that they are arriving at, from the magnitude of the matters contained in them, their being made by law, actual records, and from a prevailing course of adjudication which hath nearly l„ cured an evil practico, I readily concur in reversing this judgment, for that it is entered in figures, and notin words in length.
Judgment reversed.1
Cited in Walton v Vanderhoof, 1 Penn 73; Newcomb v Davis, 1 Penn. 81; Neal v Collins. 1 Penn 85; McCalla v. Wood, l Penn 86; Steelman v. Ackley, 1 Penn. 99; Van Auken v. Decker, 1 Penn. 108; Ross v Ward, 1 Harr. 33, Lloyd v. Hance, 1 Harr. 127; Berrian v. State, 8 Zab. 9-36

 Vide post, *73, *82, *85, *86, *92, *99, *110 *163. *413. But verdict in figures, and judgment in words, good. 1 Hulst. 125. — Ed.

